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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION


IN RE:                                            :           CASE NO. 17-64941-SMS
                                                  :
ROGER CARROLL BURGESS,                            :           CHAPTER 7
                                                  :
         Debtor.                                  :
                                                  :

      NOTICE OF PLEADINGS, DEADLINES TO OBJECT, AND FOR HEARINGS

        PLEASE TAKE NOTICE THAT on September 17, 2021, S. Gregory Hays, Chapter 7
Trustee (“Trustee”) for the bankruptcy estate (the “Bankruptcy Estate” or “Estate”) of Roger
Carroll Burgess (“Debtor”), filed a Motion for Approval of Settlement of Product Liability Claim
under Rule 9019 of the Federal Rules of Bankruptcy Procedure and Request to Make Certain
Payments in Accordance with Same [Doc. No. 72] (the “Settlement Motion”) and Trustee’s
Application for Final Compensation of Special Counsel and Request for Authorization to Pay
Compensation [Doc. No. 73] (the “Application”). In the Settlement Motion, Trustee seeks
approval of a settlement of a certain product liability litigation claim of the Estate with a payment
of $115,53095, gross, which after payment of various liens, expenses (including special
counsel’s attorney’s fees and expenses, if so awarded), and Debtor’s claimed exemption will
result in a net of $27,636.25 coming into the Estate. In the Application, Trustee seeks final
approval of compensation and expense for Matthews & Associates; Freese & Goss; and J. Shafer
Law (collectively, “Special Counsel”) for fees in the amount of $46,212.38 (the specific amount
that each firm will receive is set forth in the Exhibit “A” to the Settlement Motion) and expenses
in the amount of $5,335.99 for services rendered in the prosecution of the lawsuit.

        Pursuant to General Order No. 24-2018, the Court may consider these matters without
further notice or a hearing if no party in interest files a response or objection within twenty-one
(21) days from the date of service of this notice. If you object to the relief requested in the
Settlement Motion or Application, you must timely file your objection with the Bankruptcy
Clerk at: Bankruptcy Clerk, U.S. Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, S.W.,
Atlanta, Georgia 30303, and serve a copy on the Trustee's attorney, Michael J. Bargar, Arnall
Golden Gregory LLP, 171 17th Street, NW, Suite 2100, Atlanta, Georgia 30363, and any other
appropriate persons by the objection deadline. The response or objection must explain your
position and be actually received by the Bankruptcy Clerk within the required time.

       Hearings on the Settlement Motion and Application have been scheduled for October 20,
2021 at 10:15 a.m., in Courtroom 1201, United States Courthouse, 75 Ted Turner Drive, S.W.,
Atlanta, Georgia. If an objection or response is timely filed and served, the hearing will proceed
as scheduled. If you do not file a response or objection within the time permitted, the Court
may grant the relief requested without further notice or hearing provided that an order
approving the relief requested is entered at least one business day prior to the scheduled hearing.



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If no objection is timely filed, but no order is entered granting the relief requested at least one
business day prior to the hearings, the hearings will be held at the time and place as scheduled.

       Matters that need to be heard further by the Court may be heard by telephone, by video
conference, or in person, either on the date set forth above or on some other day, all as
determined by the Court in connection with this initial telephonic hearing. Please review the
“Hearing Information” tab on the judge’s webpage, which can be found under the “Dial-in and
Virtual Bankruptcy Hearing Information” link at the top of the webpage for this Court,
www.ganb.uscourts.gov for more information.

       Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. If you do not have an
attorney, you may wish to consult one.
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Dated: September 20, 2021.


                                             ARNALL GOLDEN GREGORY LLP
                                             Attorneys for Trustee

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